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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION



ALFIYA MILLS                                                                PLAINTIFF

v.                                    NO. 4:21-CV-861-BSM

JAMAR BENNETT, INDIVIDUALLY
AND IN HIS OFFICIAL CAPACITY AS
POLICE OFFICER FOR THE CITY OF BENTON                                       DEFENDANTS


                                     MOTION FOR STAY

       COMES NOW, the Plaintiff, ALFIYA MILLS, by and through Counsel, SUTTER &

GILLHAM, P.L.L.C., who for her Motion for Stay, she states:

1. The parties have resolved this matter and will move to dismiss the case shortly.

2. Plaintiff's summary judgment response is due.

3. Accordingly, Plaintiff moves to stay the need to file a response to the Summary Judgement.

       WHEREFORE, Plaintiff respectfully requests a Motion to Stay the need to file a

Response to Defendant’s Motion for Summary Judgment, and all other proper relief.

                                             Respectfully submitted,

                                             SUTTER& GILLHAM, P.L.L.C.
                                             Attorneys at Law
                                             1501 N. Pierce, Ste. 105
                                             Little Rock, AR 72207
                                             (501) 315-1910 - Office
                                             (501) 315-1916 – Facsimile
                                             Counsel for the Plaintiff(s)

                                      By:    /s/ Lucien Gillham
                                             Lucien Gillham, Ark. Bar #99-199




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing has been served on this, the 9th day of
March, 2023, via ECF filing upon all counsel for the Defendants:


William C. Mann III
PO Box 38
North Little Rock, AR 72115-0038
bmann@arml.org

Russell A. Wood
Wood Law Firm
501 E. 4th St., Suite 4
Russellville, AR 72801
rwood@woodlawfirmpa.com
                                     By:    /s/ Lucien Gillham
                                            Lucien Gillham, Ark. Bar #99-199




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